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                 EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

      Plaintiff,

      v.

ROBERT F. KENNEDY, JR., in his official capacity,
and U.S. DEPARTMENT OF HEALTH AND
                                                          Case No. 1:24-cv-3188-RC
HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

      Defendants.


  AMICI CURIAE BRIEF OF AMERICAN HOSPITAL ASSOCIATION, NATIONAL
ASSOCIATION OF CHILDREN’S HOSPITALS, INC., D/B/A CHILDREN’S HOSPITAL
   ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL COLLEGES AND
     AMERICA’S ESSENTIAL HOSPITALS IN SUPPORT OF DEFENDANTS
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                                 STATEMENT OF INTEREST1
       Amici are four hospital associations whose members receive 340B discounts. Johnson &

Johnson’s unlawful rebate policy will grievously harm those hospitals and the patients they care

for. Amici therefore have a strong interest in preserving the Health Resources and Services

Administration’s lawful decision to reject that rebate policy, so that Amici’s members can continue

to provide high-quality, affordable medical care to their underserved patients and communities.

       The American Hospital Association represents nearly 5,000 hospitals, healthcare

systems, and other healthcare organizations across the country. Its members are committed to

improving the health of the communities they serve and to helping ensure that affordable care is

available to all Americans.

       The National Association of Children’s Hospitals, Inc., d/b/a Children’s Hospital

Association is the national voice of more than 220 children’s hospitals. It advances child health

through innovation in the quality, cost, and delivery of care in children’s hospitals.

       The Association of American Medical Colleges is dedicated to improving the health of

people everywhere through medical education, healthcare, medical research, and community

collaborations. Its members include all 160 LCME-accredited medical schools; nearly 500

academic health systems and teaching hospitals; and more than seventy academic societies.

       America’s Essential Hospitals is dedicated to high-quality care for all, including those

who face social and financial barriers. Consistent with this safety-net mission, the association’s

more than 350 members provide a disproportionate share of the nation’s uncompensated care, with

three-quarters of their patients uninsured or covered by Medicare or Medicaid.



1
  Pursuant to Local Civil Rule 7(o)(5) and Fed. R. App. P. 29, counsel states that all parties
consented to the filing of this brief. No party’s counsel authored any part of this brief, and no
person other than Amici funded its preparation or submission.
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                                        INTRODUCTION

       This case is about an undisguised power grab. Johnson & Johnson makes no secret of its

belief—hyperbolic as it is—that there is abuse in the 340B program. It makes no secret of its belief

that the Health Resources and Services Administration has not taken sufficient action to address

this alleged abuse. It makes no secret of its belief that the Centers for Medicare & Medicaid

Services has not given the guidance J&J prefers for how to reconcile the 340B Program and the

Inflation Reduction Act. And most important, J&J makes no secret of its belief that it must now

take the law into its own hands to fix all of this with its rebate policy. J&J’s motives and intentions

do not “come before the Court clad, so to speak, in sheep’s clothing.” Morrison v. Olson, 487 U.S.

654, 699 (1988) (Scalia, J., dissenting). “[T]his wolf comes as a wolf.” Id.

       Amici appreciate that J&J does not try to hide why it seeks to engage in this self-help, e.g.,

Compl. ¶¶ 1, 8, 11, 45, 48, 83, 84, or that the scope of its rebate policy will be expanded after its

initial implementation. Indeed, J&J all but announces that if it is successful here, its rebate policy

will extend far beyond two drugs. E.g., Compl. ¶ 79 (“At implementation, J&J’s Rebate Model is

intended to have a limited scope.” (emphasis added)). Unfortunately, however, J&J is far less frank

about the consequences of its rebate policy. As J&J seeks to boost its profits by delaying or

denying 340B hospitals the discounts they are owed under law, its rebate policies will devastate

safety-net hospitals, their vulnerable patients, and the struggling rural and urban communities they

serve. In that respect, this case is not just about a power grab—it’s also about a money grab.

       But regardless of J&J’s motives, one thing is pellucidly clear: J&J’s rebate policy is

“incompatible” with the 340B statute. Astra USA, Inc. v. Santa Clara Cty., 563 U.S. 110, 113

(2011). The text, structure, history, and purpose of the 340B statute reveal a carefully calibrated

legal regime in which “Congress vested authority to oversee compliance with the 340B Program


                                                  2
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in HHS and assigned no auxiliary enforcement role to” program participants. Id. at 117 (emphasis

added). Congress also did not permit drug companies to demand what are, effectively, prospective

audits in exchange for providing discounts that are owed under the 340B statute. And, ultimately,

Congress did not permit drug companies to unilaterally condition 340B pricing on their subjective

determination of program compliance or the surrender of purchase data.

       For good reason. J&J’s rebate policy will be ruinous for 340B hospitals. As much as J&J

tries to malign 340B hospitals, these hospitals treat America’s most vulnerable patients. They care

for a significant share of the nation’s children, cancer patients, and those living in rural and other

underserved communities. For much of this care, 340B hospitals do not get paid at all. As the D.C.

Circuit has noted: “A congressionally mandated study of how eligible providers use [their] income

from the 340B program found that [340B income] help[s] safety-net providers fund the

uncompensated care they supply and expand the services they offer.” Cares Cmty. Health v. HHS,

944 F.3d 950, 955 (D.C. Cir. 2019) (cleaned up).

       But as a bipartisan group of nearly 200 lawmakers wrote after the first rebate policy was

announced: “This unapproved and unlawful change would have severe consequences for our

nation’s safety net providers and the patients they serve.… A rebate model would create significant

financial challenges for safety-net hospitals.” Congressional Letter to Secretary Becerra 1, 2 (Sept.

27, 2024), at https://d12t4t5x3vyizu.cloudfront.net/spanberger.house.gov/uploads/2024/09/Quill-

Letter-L20840-Letter-to-HHS-on-JJ-340B-Rebate-Model-Version-1-09-27-2024-@-03-08-

PM.pdf. The letter went on to accurately explain that the rebate model “would reduce resources

available for providing comprehensive services to patients and communities, undermining the core

purpose of 340B.” Id. at 1.




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       In particular, these rebate policies will dramatically erode the 340B discount that Congress

intended for them to receive. For starters, hospitals will be forced to advance millions of dollars to

J&J and other drug companies. “This approach is to the manufacturer’s financial benefit because

the company retains those sums for a longer time and creates hurdles for covered entities to claim

the discount.” Id. Already “operating under much lower operating margins than non-340B

hospitals,” id. at 2, America’s 340B hospitals cannot afford to make zero-interest loans to J&J

without any guarantee of when—or whether—they will be paid the discounts they are owed by

law. In fact, hundreds of hospitals self-reported to Amici that these rebate policies could cause

them to violate their bond covenants, which would lead to catastrophic financial distress and, for

some, permanent closure. See infra at 21.

       340B hospitals also will have to spend enormous amounts to comply with J&J’s rebate

policies. These policies have no precedent in the three decades since the start of the 340B Program.

Hospitals therefore have no existing infrastructure to comply with them—let alone the many

different variations and requirements across the hundreds of drug companies that could adopt them.

340B hospitals will be forced to hire new full-time employees to meet the drug company demands,

and they will have to purchase new technologies to provide the required purchase data and to track

the rebates they are owed. In a world of finite resources, 340B hospitals will have no choice but to

divert funds away from patient services and towards burdensome compliance.

       Ultimately, as the Court evaluates this case, it should bear in mind what Justice Kavanaugh

wrote for a unanimous Supreme Court just a few years ago: “340B hospitals perform valuable

services for low-income and rural communities but have to rely on limited federal funding for

support.” Am. Hosp. Ass’n v. Becerra, 596 U.S. 724, 738 (2022). J&J’s rebate policy shrinks that

already-limited funding even further, endangering the care that 340B hospitals provide for their


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patients and communities. But perhaps worse than anything, J&J does so in flagrant disregard of

the 340B statute. Drug companies may be dissatisfied with that law or how the Executive Branch

is enforcing it, but that does not permit J&J or other drug companies to try to enforce the law itself.

Nor does it permit J&J to co-opt this Court in its vigilante efforts. If J&J is dissatisfied with 340B

law or policy, it can seek change in the political branches. But it cannot take the law into its own

hands and then seek judicial permission for its extra-legal actions.

                                           ARGUMENT
    I.       The Structure, History, And Purpose Of The 340B Statute Precludes J&J’s Rebate
             Policy.
          The textual arguments in this case are straightforward. The 340B statute, using the

unambiguous phrase “as provided by the Secretary,” gives HRSA the authority to approve any

“rebate” model. 42 U.S.C. § 256b(a)(1).2 The Pharmaceutical Pricing Agreements between HRSA

and the drug companies “set[] out terms identical to those contained in the statute,” and thus confer

the same rebate-approval authority. Astra, 563 U.S. at 114.

          Amici need not repeat those dispositive textual arguments here. Instead, we focus on the

structure, history, and purpose of the 340B statute because they, too, prove that Congress never

intended for drug companies to take the law into their own hands to pursue their own self-interested

plan for program integrity. These traditional tools of statutory construction also demonstrate that

whatever comparisons J&J tries to make with hospitals’ “replenishment system” for inventory



2
  The legislative history supports this plain text. E.g., H.R. Rep. No. 102-384, pt. 2, at 16 (1992)
(“The Committee bill does not specify whether ‘covered entities’ would receive these favorable
prices through a point-of-purchase discount, through a manufacturer rebate, or through some other
mechanism. A mechanism that is appropriate to one type of ‘covered entity,’ such as community
health centers, may not be appropriate to another type, such as State AIDS drug purchasing
programs. The Committee expects that the Secretary of HHS, in developing these agreements,
will use the mechanism that is the most effective and most efficient from the standpoint of each
type of ‘covered entity.’”).
                                                  5
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management or a previous HRSA-approved rebate model for AIDS Drug Assistance Programs, the

sweeping, surveillant nature of this rebate model is “incompatible” with “the statute Congress

enacted.” Id. at 113, 121. Put differently, the 340B statute does not bar all rebate models. It does,

however, bar the models J&J and other drug companies seek to impose here.

        A. J&J’s rebate policy is incompatible with the 340B statute’s structure.
        A statute’s structure can inform its meaning. So when courts are “called on to resolve a

dispute over a statute’s meaning,” the parties “are entitled … to have independent judges exhaust

all the textual and structural clues bearing on that meaning.” Niz-Chavez v. Garland, 593 U.S.

155, 160 (2021) (quotation marks omitted and emphasis added). Here, the structure and design of

the 340B statute provide extremely informative “clues.” In particular, the statute contains several

provisions addressing audits, compliance, and dispute resolution that are inconsistent with J&J’s

rebate policy.

        These provisions send two unmistakable messages about Congress’ intent for the 340B

Program. First, Congress did not intend for participants in the 340B Program to engage in

unconstrained self-enforcement. Quite the contrary. The 340B statute contemplates that HHS will

always have a role in enforcing program requirements. Consider the following provisions:

       42 U.S.C. § 256b(a)(5)(C) provides for audits to enforce the statute’s prohibitions on
        diversion and duplicate discounts. This provision gives audit responsibility to the
        “Secretary and the manufacturer of a covered outpatient drug”—not the manufacturer
        alone. Id. It also gives the Secretary—and not the manufacturer—the authority to develop
        procedures “relating to the number, duration, and scope of audits.” Id.
       42 U.S.C. § 256b(a)(5)(D) relatedly provides for “[a]dditional sanction for
        noncompliance” with the diversion and duplicate discount provisions, but only after an
        audit is completed and only after the covered entity is given an opportunity for “notice and
        hearing.” Id. This subsection also specifies that the sanction will be “an amount equal to
        the reduction in the price of the drug,” i.e., exactly what J&J will refuse to pay up-front
        (without any audit, notice, or hearing) under its rebate policy. Id.
       42 U.S.C. § 256b(d)(2) directs the Secretary to “provide for improvements in compliance
        by covered entities with the requirements of this section in order to prevent diversion and
                                                 6
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         violations of the duplicate discount.” Id. It also specifies certain compliance improvements,
         including the “imposition of sanctions, in appropriate cases as determined by the
         Secretary.” Id. (emphasis added).
        42 U.S.C. § 256b(d)(3) formalizes a statutory ADR process with HHS playing a central
         role. Not only does the statute require the Secretary to “promulgate regulations to establish
         and implement” the ADR process, but it requires that these regulations “designate or
         establish a decision-making official or decision-making body within the Department of
         Health and Human Services to be responsible for reviewing and finally resolving claims.”
         Id. (emphasis added).
         These structural features make clear that Congress did not want drug companies to engage

in self-help. Critically, the Supreme Court has recognized this statutory design. As the Court held

in Astra, Congress “centralized” 340B “enforcement in the government,” creating a “unitary

administrative and enforcement scheme.” 563 U.S. at 119-20 (quotation marks and citations

omitted). Congress did not give an “auxiliary enforcement role” to participants in the 340B

program. Id. at 117. J&J knows this. It made this exact point when opposing 340B Health’s

Motion to Intervene, arguing that “Astra forbids[] the private enforcement of 340B program

requirements.” Pl.’s Opp’n to Proposed Intervenors’ Mot. to Intervene (Dkt. 27) at 3, Johnson &

Johnson Health Care Sys., Inc. v. Fink, No. 1:24-cv-3188 (D.D.C. Feb. 13, 2025) (quotation marks

omitted and emphasis added).3


3
  Congress also carefully crafted the IRA’s compliance mechanisms to foreclose unilateral
manufacturer enforcement against hospitals and health systems. Sections 1193(a)(5), 1196, and
1197 of the IRA contain a detailed regime, empowering the Secretary to conduct compliance
monitoring and other enforcement. As Novartis notes in its summary judgment briefing before
Judge Friedrich, “the IRA does not provide manufacturers the right to audit covered entities to
ensure they are not creating illegal MFP-340B duplicates.” Pl.’s Mem. in Supp. of Mot. Sum. J.
(Dkt. 12-1) at 15, Novartis Pharm. Corp. v. Becerra, No. 1:25-cv-117 (D.D.C. Feb. 3, 2025). Yet
that is exactly what J&J seeks to do with its rebate policy.
         In any event, although the IRA is not the principal focus of this amicus brief, J&J is wrong
that the rebate model is needed to reconcile the IRA and 340B. As the AHA has explained to CMS,
other paths are possible, including one proposed by the AHA that is similar to a method
implemented by the State of Oregon. See Letter from Ashley Thompson, Senior Vice President,
Public Policy Analysis and Development, American Hospital Association, to Meena Seshamani,
M.D., Ph.D, Deputy Administrator and Director of the Center for Medicare, Centers for Medicare
& Medicaid Services (July 2, 2024), https://www.aha.org/lettercomment/2024-07-02-aha-submits-
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       It made no difference to the Astra Court that there had been various “reports of inadequate

HRSA enforcement.” 563 U.S. at 121. J&J points to similar reports in this case. E.g., Compl. ¶¶

46, 48, 50. But in Astra, the Court explained that Congress was aware of those kinds of reports

when it amended the 340B statute in 2010, and yet it still did not unleash program participants to

go out and fend for themselves. Rather, Congress chose to reinforce the ADR process and to

“strengthen and formalize HRSA’s enforcement authority.” Astra, 563 U.S. at 121-122. Thus, Astra

holds that participants in the 340B Program—be they covered entities in that case or drug

companies in this one—cannot seek to unilaterally enforce the statute themselves. 4

       Second, the 340B statute does not contemplate audits or other enforcement before payment

at discounted 340B pricing. All of the enforcement processes included in the statute are to be

conducted after covered entities have paid discounted 340B prices. Accordingly, the 340B statute

contemplates: 1) some awareness of a past violation, which then kicks off; 2) a review of completed

transaction records, followed by; 3) a determination and remedy by HHS, either under the ADR



comments-cms-guidance-medicare-drug-price-negotiation-program. J&J may not like that path,
and it may favor its illegal rebate model, but other ways to comply with the IRA and 340B are
available.
4
  There is active litigation throughout the country about state legislation addressing drug company
limitations on contract pharmacy arrangements. E.g., Pharm. Rsch. & Mfrs. of Am. v. McClain, 95
F.4th 1136 (8th Cir. 2024), cert. denied, --- S. Ct. ---, No. 24-118, 2024 WL 5011712 (Dec. 9,
2024); Pharm. Rsch. & Mfrs. of Am. v. Murrill, No. 6:23-cv-00997, 2024 WL 4361597, at *9 (W.D.
La. Sept. 30, 2024), appeal docketed, No. 24-30673 (5th Cir. Oct. 21, 2024). In those cases, drug
companies or their trade association, PhRMA, made arguments about Astra’s holdings on HRSA’s
centralized enforcement scheme. The AHA opposed those arguments, explaining that Astra did not
address preemption of state laws or the subject of contract pharmacies. Should J&J attack Amici
as hypocritical for relying on Astra here, it is important to underscore just how different the
contract pharmacy context is from this one. In the contract pharmacy context, courts have found
the statute to be silent on the subject. But in this context, J&J is pursuing its unlawful rebate policy
because it believes that: 1) covered entities are violating the 340B statute’s prohibitions against
diversion and duplicate discounts; and 2) a federal agency is not doing a good enough job enforcing
those express statutory prohibitions. There are no silences about those subjects, and Astra speaks
directly to HRSA’s role in superintending the 340B Program through audits and dispute resolution.
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process, see 42 U.S.C. § 256b(d)(3)(B)(i), or through agency-imposed sanctions and civil

monetary penalties, see id. §§ 256b(a)(5)(D), 256b(d)(2)(B)(v). See generally Am. Hosp. Ass’n v.

HHS, No. 4:20-cv-08806, 2021 WL 616323, at *6 (N.D. Cal. Feb. 17, 2021) (“Congress made

explicit that alleged 340B Program violations are to be first adjudicated by HHS through an

established ADR process. This process provides the agency an initial opportunity to develop rules

and regulations applicable to the enforcement of the 340B Program requirements. Moreover, the

panel consists of decisionmakers with intimate familiarity, technical knowledge, and

understanding of the nuances inherent in the 340B Program.… This Court will not otherwise short-

circuit the foundational regime that Congress has enacted in the 340B Program.”). Neither the

audit process nor the ADR process contemplates a regime where drug companies can conduct their

own free-wheeling self-enforcement before providing 340B discounts, with the authority to refuse

such pricing based on a drug company’s unilateral belief that violations of the statute are occurring.

       The drug companies have nonetheless argued that a rebate model is necessary to initiate

the audit and ADR processes. That is wrong. Before explaining why, it is important to reemphasize

that Congress expressly gave the Secretary discretion to establish audit procedures. See 42 U.S.C.

§ 256b(a)(5)(C). Pursuant to that discretion, in 1996 the Secretary began requiring manufacturers

to demonstrate “reasonable cause” before conducting an audit. Manufacturer Audit Guidelines and

Dispute Resolution Processes, 61 Fed. Reg. 65,406, 65,409 (Dec. 12, 1996); see id. at 65,406

(explaining that the “reasonable cause” standard “will ensure that the audits are performed where

there are valid business concerns and are conducted with the least possible disruption to the

covered entity” (emphasis added)). The Secretary did not want a free-for-all where dozens of

different drug companies had “the right to routinely conduct an audit as a normal business practice

without the need for Departmental approval.” Id.


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        J&J’s rebate policy, by contrast, is not based on individualized suspicion of any covered

entity or even “reasonable cause” that a particular violation has occurred. It casts an exceedingly

wide net, demanding purchase data as a matter of course, all based on the belief that some abuse

surely must be occurring. The 340B statute and decades-old agency guidance bar this kind of

fishing expedition. E.g., 42 U.S.C. § 256b(a)(5)(C) (giving Secretary, not drug companies, the

authority to determine the “number” of audits). J&J cannot, as part of its normal business practices,

require covered entities to provide swaths of information in advance, before it pays covered entities

at the 340B price.

        In fact, the same HHS audit guidelines that set forth the “reasonable cause” standard also

responded to public comments insisting that “[m]anufacturers should not be required to continue

to sell to a covered entity at the mandated price once an audit has been initiated, particularly since

reasonable cause has already been demonstrated.” 61 Fed. Reg. at 65,408. HHS, acting in its

statutory discretion to establish audit procedures, rejected that proposal:

        Manufacturers must continue to sell at the statutory price during the audit process.
        Once the audit has been completed and the manufacturer believes that there is
        sufficient evidence to indicate prohibited entity activity, then the manufacturer may
        bring the claim to the Department through the informal dispute process. Not until
        the entity is found guilty of prohibited activity and a decision is made to remove
        the entity from the covered entity list, will the manufacturers no longer be required
        to extend the discount.
Id.5
        Thus, the Secretary, acting within his statutory authority, did not want drug companies to

unilaterally deny 340B discounts in advance based on mere suspicion of prohibited activity—


5
  Congress was presumably aware of this guidance when it amended the 340B statute in 2010 to
codify an audit as a prerequisite for the ADR process. See Lorillard v. Pons, 434 U.S. 575, 581
(1978) (“[W]here, as here, Congress adopts a new law incorporating sections of a prior law,
Congress normally can be presumed to have had knowledge of the interpretation given to the
incorporated law, at least insofar as it affects the new statute.”); cf. Astra, 563 U.S. at 121-122.

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precisely what J&J and other drug companies are now seeking to do with their rebate policies.

Both Congress and HHS sought to channel disputes through an orderly audit and ADR process,

during which covered entities would continue to be paid the discounted 340B pricing. This again

proves that any effort by J&J or other drug companies to police the 340B statute in their sole

discretion—before providing 340B discounts and only in exchange for purchase data—is

incompatible with the structure and design of the statute.6

       At times, the drug companies seem to accept that audits are inherently retrospective. Some

argue, however, that they still need various information from covered entities to satisfy HRSA’s

“reasonable cause” requirement. HRSA’s longstanding guidance again proves otherwise.




6
  HRSA’s rationale for rejecting the rebate models—especially as set forth in Footnote 2 of its
September 17, 2024 letter to J&J—flows directly from its 1994 and 1996 guidances (as well as
Astra). J&J’s allegations (e.g., Compl. ¶¶ 123-124) that HRSA failed to address or distinguish
certain issues in its rejection letters are therefore meritless. See Hall v. McLaughlin, 864 F.2d 868,
872-873 (D.C. Cir. 1989) (“Where the reviewing court can ascertain that the agency has not in fact
diverged from past decisions, the need for a comprehensive and explicit statement of its current
rationale is less pressing.… [T]he decision of the Secretary in the present case—though of less
than ideal clarity—must be upheld. We conclude that the Secretary did not swerve from her prior
decisions. Consequently, her explanation need only be sufficient to permit the court to discern the
path she has taken.” (quotation marks omitted)); Inv. Co. Inst. v. CFTC, 720 F.3d 370, 372-373
(D.C. Cir. 2013) (“So long as CFTC provided a reasoned explanation for its regulation, and the
reviewing court can reasonably ... discern[ ] the agency’s path, we must uphold the regulation,
even if the agency’s decision has less than ideal clarity.… CFTC’s regulation clears this low bar.”
(emphasis added)); United Parcel Serv., Inc. v. Postal Regul. Comm’n, 890 F.3d 1053, 1066 (D.C.
Cir. 2018) (same); see also Nat’l Weather Serv. Emps. Org. v. FLRA, 966 F.3d 875, 884 (D.C. Cir.
2020) (“Although not articulated by the Authority, this distinction is sufficiently evident that the
court is confident that the Authority has not arbitrarily departed from its established precedent.);
Gilbert v. NLRB, 56 F.3d 1438, 1445 (D.C. Cir. 1995) (“[W]here the circumstances of the prior
cases are sufficiently different from those of the case before the court, an agency is justified in
declining to follow them, and the court may accept even a laconic explanation as an ample
articulation of its reasoning.” (quotation marks omitted)); Ready for Ron v. FEC, No. 22-3282,
2023 WL 3539633, at *14 (D.D.C. May 17, 2023) (“Because these opinions dealt with a very
different question from that raised here, they neither compelled a result different from that which
the FEC reached nor obligated the FEC to offer a reasoned basis for departing from prior practice
or precedent.”).
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       The “reasonable cause” standard is a modest one. Drug companies can satisfy it in various

ways, including by pointing to “[s]ignificant changes in quantities of specific drugs ordered by a

covered entity and complaints from patients/other manufacturers about activities of a covered

entity.” Manufacturer Audit Guidelines and Dispute Resolution Processes, 61 Fed. Reg. at 65,406.

Tellingly, no drug company has pointed to a single instance since 1996 when HRSA prevented it

from conducting an audit because it could not meet the “reasonable cause” standard. This is

because HRSA has never required the type or amount of data that the drug companies now insist

is necessary to initiate an audit. And if HRSA ever did require more information than “reasonable,”

the answer would be for drug companies to petition HRSA to change that standard—not to take

the law into their own hands by imposing a rebate model.

       Statutory structure matters. E.g., Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 321 (2014)

(rejecting an interpretation would be “inconsistent with—in fact, would overthrow—the Act’s

structure and design”); Bauer v. Marmara, 942 F. Supp.2d 31, 39 (D.D.C. 2013) (“The quest for

congressional intent usually begins and ends with the text and structure of the statute.” (emphasis

added)); see generally Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of

Legal Texts 167 (2012) (“Perhaps no interpretive fault is more common than the failure to follow

the whole-text canon, which calls on the judicial interpreter to consider the entire text, in view of

its structure and of the physical and logical relation of its many parts.” (emphasis added)). Here,

the many structural features discussed above are incompatible with the particular conditions that

J&J would impose with its rebate policy. Contrary to that policy, the statute does not permit drug

companies to engage in unbridled self-enforcement. Congress granted HHS the authority to

“superintend” and “control” the 340B Program. Astra, 563 U.S. at 113-14. “That control could not

be maintained were” hundreds of drug companies permitted to impose their own individual rebate


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policies. Id. at 114. Nor could it be maintained if every drug company were permitted to pre-

condition payment on the surrender of different data depending on what any given company

demands at any given time. Instead, the 340B statute (and the time-honored HHS guidelines

established under its statutory authority) sets forth procedures where subjective manufacturer

suspicions about diversion and duplicate discounts do not permit drug companies to withhold 340B

discounts until purchase data is turned over or program compliance is verified. Anything else—

including and especially J&J’s rebate policy—“runs contrary to how the [340B] Program is

supposed to work.” Ams. for Clean Energy v. EPA, 864 F.3d 691, 710 (D.C. Cir. 2017).

       B. J&J’s rebate policy is incompatible with the 340B statute’s history.
       In keeping with this statutory structure and design, HHS has long and consistently

interpreted the 340B statute to preclude what J&J seeks to do here. In 1993, HRSA sought public

comment to inform its superintendence of the 340B Program, particularly with regard to the

statutory bars on diversion and duplicate discounts. See Notice Regarding Section 602 of the

Veterans Health Care Act of 1992 Entity Guidelines, 58 Fed. Reg. 68,922 (Dec. 29, 1993). Five

months later, the agency issued a Final Notice stating: “A manufacturer may not condition the offer

of statutory discounts upon an entity’s assurance of compliance with section 340B provisions.”

Final Notice Regarding Section 602 of the Veterans Health Care Act of 1992 Entity Guidelines, 59

Fed. Reg. 25,110, 25,113 (May 13, 1994).7 HRSA also specifically stated that drug companies may



7
  The only time in thirty years that HRSA exercised its statutory authority to approve a rebate
model, in the narrow and distinguishable context of State AIDS Drug Assistance Programs, it
reemphasized this longstanding limitation on drug company behavior. See Notice Regarding
Section 602 of the Veterans Health Care Act of 1992—Rebate Option, 63 Fed. Reg. 35,239, 35,240
(June 29, 1998) (“In addition, manufacturers and covered entities are referred to 59 FR 25113 for
a reminder that ‘a manufacturer may not condition the offer of statutory discounts upon an entity’s
assurance of compliance with section 340B provisions.’”); see also id. (“Guidelines have been
issued to minimize the potential for duplicate discounting and covered drug diversion (59 FR
25110, May 13, 1994), and manufacturers have available to them auditing and dispute resolution
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not require hospitals to submit information about “drug acquisition” and “purchase” as a condition

for 340B discounts. Id. at 25,113-114.8

       HHS’s analysis is precisely the type of agency interpretation that can assist this Court in

construing the 340B statute. As the Supreme Court explained in Loper Bright Enters. v. Raimondo,

603 U.S. 369, 394 (2024), “courts may—as they have from the start—seek aid from the

interpretations of those responsible for implementing particular statutes.” Here, that responsibility

is HHS’s. What’s more, this particular HHS interpretation was “issued contemporaneously with

the statute at issue” and has “remained consistent over time.” Id. It is therefore “especially useful

in determining the statute’s meaning.” Id. And last but not least, the 340B statute “empowers” HHS

“to prescribe rules to ‘fill up the details’” of the 340B statute’s oversight scheme. Id. at 395


remedies if they believe that duplicate discounting or covered drug diversion has occurred (61 FR
65406, December 12, 1996).”).
8
  Although that guidance did allow manufacturers to request “standard information,” Final Notice
Regarding Section 602 of the Veterans Health Care Act of 1992 Entity Guidelines, 59 Fed. Reg. at
25,113-114, there is nothing “standard” about J&J’s current demands. Most important, the term
“standard information” must be understood in light of the rest of HRSA’s guidance. By explicitly
barring demands for “drug acquisition” and “purchase” information, the term “standard
information” cannot include exactly the kind of data that J&J now demands under its rebate policy.
Nor can it include the scope and quantity of data at issue here, which is far greater than the contract
pharmacy-related data at issue in Novartis Pharms. Corp. v. Johnson, 102 F.4th 452 (D.C. Cir.
2024). And if all of that were not enough—and it surely is—another portion of the Final Notice
seems to equate “standard information” with “routine information necessary to set up and maintain
an account.” Final Notice Regarding Section 602 of the Veterans Health Care Act of 1992 Entity
Guidelines, 59 Fed. Reg. at 25,112. Thus, despite J&J’s citations to Novartis on this point (at 33),
that case does not support its rebate policy. Not only did Novartis not consider the full text of
HRSA’s guidance (including its statements regarding “drug acquisition” and “purchase”
information), but unlike the policies at issue in Novartis, the burden and administrative cost of
these rebate policies are much more than “minimal.” Novartis, 102 F.4th at 463; see infra at Section
I.C.
        Finally, another especially powerful clue about the meaning of “standard information” is
that the purchase data demanded under J&J’s rebate policy was not required in 1994 when HRSA
issued its guidance, nor did J&J require anything remotely like it until the summer of 2024. Amici
respectfully submit that practice for nearly three decades—including at the time when HRSA’s
guidance was initially provided—should at least count for something in evaluating what is deemed
“standard.”
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(quoting Wayman v. Southard, 10 Wheat. 1, 43 (1825)). Thus, as this Court “exercise[s]

independent judgment in determining the meaning of statutory provisions,” id. at 394, HRSA’s

well-established position that drug companies cannot condition or withhold 340B discounts on the

handover of drug acquisition or purchase data should be given “great weight,” id. at 388 (internal

quotation marks omitted), and “due respect,” id. at 403; see id. at 430 (Gorsuch, J., concurring)

(“[T]his Court has also long extended ‘great respect’ to the ‘contemporaneous’ and consistent

views of the coordinate branches about the meaning of a statute’s term.” (quoting Edwards’ Lessee

v. Darby, 12 Wheat. 206, 210 (1827))).9

       The D.C. Circuit’s decision in Novartis Pharms. Corp. v. Johnson, does not undermine

HHS’s interpretation of the 340B statute. Nor does it authorize J&J’s rebate policy. See Novartis,

102 F.4th at 464 (“We do not foreclose the possibility that other, more onerous conditions might

violate the statute.”); Novartis Pharms. Corp. v. Espinosa, No. 21-cv-1479, 2021 WL 5161783, at

*9 (D.D.C. Nov. 5, 2021) (“The statute’s plain language, purpose, and structure do not … permit

all conditions.” (emphasis in original)). That decision upheld a United Therapeutics policy

requiring “covered entities to provide claims data associated with all 340B contract pharmacy

orders to a third-party platform, to facilitate efforts to police diversion and duplicate discounts.”

Novartis, 102 F.4th at 458; see Novartis, 2021 WL 5161783, at *4 (“United Therapeutics also



9
  Accord Nat’l Lead Co. v. United States, 252 U.S. 140, 145–146 (1920) (“[G]reat weight will be
given to the contemporaneous construction by department officials, who were called upon to act
under the law and to carry its provisions into effect, especially where such construction has been
long continued, as it was in this case for almost 40 years before the petition was filed.”); United
States v. Am. Trucking Ass’ns, Inc., 310 U.S. 534, 549 (1940) (“The Commission and the Wage
and Hour Division, as we have said, have both interpreted Section 204(a) as relating solely to
safety of operation. In any case such interpretations are entitled to great weight. This is particularly
true here where the interpretations involve ‘contemporaneous construction of a statute by the men
charged with the responsibility of setting its machinery in motion; of making the parts work
efficiently and smoothly while they are yet untried and new.’” (quoting Norwegian Nitrogen Co.
v. United States, 288 U.S. 294, 315 (1933))).
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requires all covered entities using contract pharmacies to regularly provide claims data to [United

Therapeutics] via a third-party platform, among other things, allowing [the manufacturer] to

confirm that contract pharmacies are genuinely acting on behalf of a covered entity.” (quotation

marks omitted)). But United Therapeutics’ policy was meaningfully different from J&J’s. It dealt

only with contract pharmacies and drug company limits related to distribution. See Novartis, 102

F.4th at 461-462 (“HRSA invokes the statutory audit and dispute-resolution mechanisms.… [T]hey

serve to ensure compliance with the various obligations that section 340B imposes.… HRSA

reasons that this enforcement scheme is carefully calibrated, which tends to suggest that it is

exclusive. Perhaps so, but that at most shows that section 340B establishes the precise metes and

bounds of audits and administrative adjudications. It does not suggest that contractual limits on

distribution are unlawful.” (emphasis added and internal citation omitted)).

       The differences between these contexts are determinative. In the contract pharmacy

context, Novartis found the statute to be silent as to distribution. Id. at 460. Here, the statute

includes “carefully calibrated” compliance, audit, and dispute resolution procedures that do not

permit unilateral drug company enforcement. Id. at 462. In the contract pharmacy context, drug

companies and HRSA could not audit those pharmacies because the 340B statute does not provide

for audits of third parties. Here, drug companies can audit 340B hospitals, provided they follow

the appropriate processes. These distinctions are dispositive, as they directly implicate the textual

and structural features discussed above that are incompatible with the rebate model.

       More fundamentally, the scope of J&J’s rebate policy, and the consequences to hospitals

for violating it, are even more drastic than anything at issue in Novartis. United Therapeutics’

policy did not deny 340B discounts to hospitals altogether. It refused to sell only to contract

pharmacies if data was not provided. See Pl.’s Compl. (Dkt. 1) Ex. 3 at 6, United Therapeutics


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Corp. v. Espinosa, No. 21-cv-1686, 2021 WL 5161783 (D.D.C. Nov. 5, 2021). A hospital still could

obtain 340B pricing if it distributed a drug from its in-house pharmacy. Here, J&J’s rebate policy

would completely deny hospitals 340B discounts if those covered entities refuse to surrender

important data or assure program compliance.

       It is not too much to say that J&J’s policy, unlike United Therapeutics’ policy, strikes at the

heart of the 340B Program. Not merely addressing where 340B drugs can be sold, J&J’s rebate

policy touches on the core function of the Program—whether 340B discounts are provided at all.

This runs headlong into HRSA’s three-decade-old ban on drug companies conditioning 340B

discounts on their own satisfaction about a covered entity’s compliance or the handover of

purchase data. Because Novartis adjudicated a far narrower set of drug company conditions, it has

no bearing on the rebate policy at issue here.

       C. J&J’s rebate policy is incompatible with the 340B statute’s purpose.
       Purpose also can be relevant to statutory interpretation—particularly where, as here, it

aligns with the statute’s text, structure, and history. See Loving v. IRS, 742 F.3d 1013, 1016 (D.C.

Cir. 2014) (Kavanaugh, J.) (“[I]n ultimately determining whether the agency’s interpretation is

permissible or instead is foreclosed by the statute, [courts] must employ all the tools of statutory

interpretation, including text, structure, purpose, and legislative history.” (quotation marks omitted

and emphasis added)); see also U.S. Sugar Corp. v. EPA, 113 F.4th 984, 999 (D.C. Cir. 2024)

(“Reading Section 112(d)(3) to require EPA to use the data it ‘has’ in its possession until the

moment a rule is promulgated would frustrate the statutory purposes of the Clean Air Act.”);

United States v. Griffin, 119 F.4th 1001, 1025 (D.C. Cir. 2024) (“We reject Griffin’s reading, which

is so squarely at odds with that clear purpose.”). Of course, “even the most formidable argument

concerning the statute’s purposes could not overcome the clarity ... in the statute’s text,” Kloeckner

v. Solis, 568 U.S. 41, 55 n.4 (2012), and “no legislation pursues it purposes at all costs,” CTS Corp.
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v. Waldburger, 573 U.S. 1, 12 (2014). But if purpose is considered at all—and it should be here—

it is important to understand what the 340B statute’s purpose actually is and how J&J’s rebate

policy bulldozes it.

        The purpose of the 340B Program is indisputable and well-recognized. Drawing on

language from a congressional report, courts—including this one—have held that the “program

was intended to enable certain hospitals and clinics ‘to stretch scarce Federal resources as far as

possible, reaching more eligible patients and providing more comprehensive services.’” Am. Hosp.

Ass’n v. Hargan, 289 F. Supp.3d 45, 47 (D.D.C. 2017) (Contreras, J.) (quoting H.R. Rep. No. 102–

384, pt. 2, at 12 (1992)); see Am. Hosp. Ass’n v. Azar, 967 F.3d 818, 822 (D.C. Cir. 2020), rev’d

sub nom. Am. Hosp. Ass’n v. Becerra, 596 U.S. 724 (2022) (quoting same language from the House

Report). Thus, while the statute’s provisions regarding diversion and duplicate discounts indicate

that Congress did not want covered entities to obtain 340B discounts fraudulently (i.e., “at all

costs”), those provisions and the HHS-superintendence provisions must be considered in light of

this purpose—not as separate, equally important purposes, as the drug companies occasionally

insist in their briefs. In fact, the same congressional report also makes clear that “in developing

[audit] procedures, the Secretary will make every effort to minimize the administrative and

financial burdens that these audits impose on ‘covered entities.’” H.R. Rep. No. 102–384, pt. 2, at

17 (1992) (emphasis added). Putting all of this together, these statements make clear that Congress

wanted any anti-fraud efforts to interfere as little as possible with the statute’s true purpose of

allowing 340B hospitals to stretch their limited financial resources as far as possible to better serve

patients.

        J&J’s rebate policy flouts this statutory purpose. Far from helping 340B hospitals to stretch

financial resources, it squeezes them. The key function of the 340B Program is to allow “covered


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entities (including eligible hospitals) to purchase drugs from manufacturers at heavily discounted

rates.” Azar, 967 F.3d at 822. But J&J’s rebate policy eats away at those intended discounts in two

main ways.

       First, the rebate policy will require hospitals and other covered entities to float significant

sums to J&J and other drug companies. The American Hospital Association surveyed its

membership while preparing this amicus brief, and it learned that 340B hospitals anticipate, on

average, multi-million-dollar annual losses as a result of just the announced policies. Hundreds of

340B hospitals have reported that they, in turn, will have to restrict or close healthcare service

lines, thus directly harming the patients that the 340B program is supposed to help.

       For example, Baptist Hospital in Pensacola, Florida reports that if forced to comply with

just the announced rebate policies, it would have to advance $33 million per year to the drug

companies. Not only would it be handing the drug companies any interest it could earn on that

sum, but Baptist fears that it will not be reimbursed for 100% of the rebates they are rightly owed

under the law. What’s more, Baptist reports that, due to these upfront costs, it likely would not be

able to keep certain drugs in stock. In particular, it would have to pay more than $9 million a year

in upfront costs for just five oncology medications; Baptist Hospital has explained to Amici that it

would need to take a hard look whether they could continue to offer these costly medications to its

cancer patients. More generally, Baptist Hospital uses its 340B savings to further its charitable

mission of delivering health care services to all individuals within the Pensacola and Northwest

Florida communities. One service in particular that has benefited from 340B savings is oncology

care for underinsured patients. That program would be in real jeopardy. As Baptist Hospital

explained, the “rebate program would severely curtail our ability to provide nonessential

community services and our ability to remain in certain service lines with high drug expenses.”


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        Similarly, UC San Diego Health in San Diego, California reports an estimated annual

financial impact of more than $25 million, in connection with just a small subset of drugs from the

initial rebate proposals. As additional manufactures release their own versions of a rebate model,

the tens-of-millions-of-dollars of impact will multiply. This strain on the health system will directly

affect patients. UC San Diego Health uses its 340B savings to offer free medication to eligible

patients. Manufacturer rebate policies pose an imminent risk to UC San Diego’s ability to maintain

these financial assistance programs. In addition, the rebates would jeopardize UC San Diego

Health’s ability to use its 340B savings to help vulnerable patients with medication treatment

management, i.e., services that helps patients understand and use their medications safely and

effectively, and adhere to the prescribed course of care.

        Stories like these abound. But another way to measure the financial impact of J&J’s rebate

policy is to look at hospitals’ cash-on-hand. According to an August 7, 2024 report from the

independent ratings agency S&P Global, median days cash-on hand have plummeted to a 10-year

low for U.S. hospitals. See Laura Dyrda, Hospital average days cash on hand hit 10-year low:

S&P,       Becker’s        Hospital       CFO          Report      (Aug.       9,       2024),       at

https://www.beckershospitalreview.com/finance/hospital-average-days-cash-on-hand-hit-10-

year-low-s-p.html. Indeed, a second independent report confirms that, from February 2022 to

February 2024, the number of days cash-on-hand for hospitals and health systems has declined by

25.4%. See Jay Asser, Hospitals’ Cash Reserves Diminished in Recent Years, Health Leaders (Apr.

4, 2024), at https://www.healthleadersmedia.com/finance/hospitals-cash-reserves-diminished-

recent-years. According to that report, “[t]he steep decrease … highlights continued financial

uncertainties for the sector, as having lower cash reserves means hospitals are less prepared for

unexpected emergencies or sudden market changes.” Id. The unilateral imposition of a rebate


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policy in which hospitals must advance millions of dollars from their cash reserves to J&J and

other drug companies easily qualifies as a “sudden market change” that many 340B hospitals are

not financially prepared for.

       To put an even finer point on it, J&J’s rebate policy puts hospitals at risk of violating their

bond covenants. 340B hospitals rely on bond financing to raise money for new projects that

enhance patient care. Those bonds typically include covenants requiring hospitals to maintain a

certain amount of days cash-on-hand. See Steven Shill, Healthcare providers face a growing risk

of violating debt covenants, Healthcare Financial Management Magazine (Feb. 2022),

athttps://www.bdo.com/getmedia/bdd99fa0-6f39-4f70-b28d-accf0ba66ea2/0222_HFM_Debt-

Covenants.pdf. Following the announcement of these rebate policies, more than 200 hospitals

self-reported to the AHA that their cash-on-hand would drop low enough to risk violating their

bond covenants. This would have calamitous effects on 340B hospitals, including downgrades in

credit ratings, increased borrowing costs, lack of access to state-of-the-art medical equipment, and

more. Worst of all, “[v]iolating a debt covenant can have a downward spiral effect on an

organization’s ability to continue as a going concern.” Id. (emphasis added). That consequence—

closing a hospital’s doors—is obviously antithetical to the 340B statute’s purpose.

       Second, J&J’s rebate policy will further gobble up the intended 340B discounts by raising

administrative costs. The rebate policy requires a 340B hospital to do two things: provide data to

drug companies and then track whether it received the discount. At both ends, hospitals will be

required to spend considerable resources, all to obtain a discount that they are entitled to under

law. Amici’s member hospitals report that, among other things, they will be required to hire new

full-time employees, develop or purchase new software, and incur the costs of filing disputes to

challenge inevitable unjustified denials of the 340B discounts. As this Court knows, moreover, J&J


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is not the only drug company to impose a rebate policy. Not every drug company will impose the

same requirements, use the same data fields or feeds, accept the same electronic or manual

formatting, rely on the same vendors, have the same contractual language, or provide rebates on

the same timetables. So when thinking about these new costs and burdens, the Court—like Amici’s

members—must think about them exponentially.

       For example, CHRISTUS Children’s Hospital is the only free-standing academic pediatric

hospital in San Antonio, Texas that is exclusively focused on pediatric and high-risk maternal care.

It serves some of South Texas’ most vulnerable women, children, and families. CHRISTUS

Children’s reports to Amici that having to comply with the drug companies’ rebate policies will

impose significant costs and administrative burdens. As for costs, it predicts $3.5 million in up-

front increases in drug expenses annually, creating a considerable cash flow issue for the

hospital. As for administrative burdens, CHRISTUS Children’s predicts that it will have to hire

new staff to manage the drug companies’ data demands and to monitor whether the hospital

receives the rebates that it is owed. CHRISTUS Children’s also expects that it (and its other

affiliated CHRISTUS Health 340B hospitals) would need to develop or buy new software to

manage and track such rebate issues, which carries further costs. And the hospital expects that it

will need to challenge denial decisions when drug companies choose not to provide appropriate

340B discounts, once again resulting in increased administrative and legal expenses.

       Unfortunately, this sizable administrative expense means fewer 340B resources will be

available for patients and for the San Antonio and South Texas communities. CHRISTUS

Children’s relies on the 340B Program to purchase critical lifesaving drugs for cancer treatments,

chemotherapy, and other expensive medicines necessary to treat numerous pediatric medical

conditions. For instance, savings from the 340B Program allow CHRISTUS Children’s to provide


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high-quality treatment and novel therapies for rare diseases, such as pediatric Spinal Muscular

Atrophy and Duchenne Muscular Dystrophy; patients from San Antonio and South Texas no longer

must travel long distances to receive these curative high-cost gene therapies. Other initiatives

CHRISTUS Children’s has implemented with its 340B savings include: 1) improved access to

high-quality care by opening community-based maternal-fetal and pediatric subspecialty clinics to

serve Bexar County patients closer to their homes; 2) comprehensive medical and surgical

programs for children with complex conditions (including wraparound services and care

coordination); and 3) partnerships with community-based non-profit organizations for family

support services, behavioral health, care coordination, and education to improve the overall health

of the communities CHRISTUS Children’s serves. Without support from 340B savings, many of

these programs—which provide hope, healing, and new beginnings for children, expectant

mothers, and families in Texas—will suffer as a direct result of J&J’s unlawful rebate policies.

       Likewise, Dallas County Medical Center is a small Critical Access Hospital in Fordyce,

Arkansas. It uses its 340B savings to provide uncompensated care to the rural population of South-

Central Arkansas. Complying with the rebate policies will inflict substantial administrative costs

on its 25-bed facility—on top of the costs of having to float its cash reserves to the drug companies

while hoping that all of its claims are actually rebated. Already thinly-staffed, it will have to hire

expensive outside contractors, along with new full-time employees, to assist with the compliance

and operations of the rebate policies. Over time, these contractors, FTEs, and other administrative

expenses are likely to cost more than the 340B discounts bring in. If all the discounts are doing is

breaking-even (or worse) on compliance and administrative costs and not allowing Dallas County

Medical Center to help its patients, it will have to weigh the benefit of participating in the 340B

Program at all—something Congress certainly did not intend when enacting the 340B statute.


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        For all of these reasons, J&J’s rebate policy is incompatible with Congress’ purpose in

enacting the 340B statute. Amici recognize, of course, that “it frustrates rather than effectuates

legislative intent simplistically to assume that whatever furthers the statute’s primary objective

must be the law.” Rodriguez v. United States, 480 U.S. 522, 526 (1987). But what if J&J’s rebate

policy is doing the “frustrating”—here, by dramatically draining the discount Congress intended

to provide? Amici also recognize that the 340B statute’s diversion and duplicate discount

provisions “suggest[] that Congress did not intend Section 340B’s purpose to be pursued at all

costs.” Novartis, 2021 WL 5161783, at *7. But what if the literal costs of the rebate policies

overwhelm that statutory purpose? At some point, even if Congress did not intend to pursue its

purpose at all costs, the costs to that purpose will be great enough to shed light on a statute’s

meaning. See NextEra Energy Res., LLC v. FERC, 118 F.4th 361, 371 (2024) (“[C]ourts should

prefer textually permissible readings that would advance statutory or regulatory goals over ones

that would frustrate them. These are bedrock principles of statutory construction.” (internal

citations omitted)); see generally Scalia & Garner at 63 (“A textually permissible interpretation

that furthers rather than obstructs a document’s purpose should be favored.”).

        This is one of those cases. When combined with text, structure, and history, the

consequences of J&J’s rebate policy cannot be squared with Congress’ intent in enacting the 340B

statute.10




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  It also is worth underscoring that “[e]very statute purposes, not only to achieve certain ends, but
also to achieve them by particular means—and there is often a considerable legislative battle over
what those means ought to be.” Dir., OWCP v. Newport News Shipbuilding & Dry Dock Co., 514
U.S. 122, 136 (1995). As explained above, Congress had a precise intention about what “means”
should be used to enforce the statute’s prohibitions on diversion and duplicate discounts—namely,
the audit and ADR processes. J&J’s rebate policies are incompatible with those “means,” thereby
violating statutory purpose in a second (but equally consequential) way.
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                                       CONCLUSION
       The 340B statute does not permit J&J to unilaterally withhold discounts from 340B

hospitals in exchange for the surrender of purchase data or what are, in essence, pre-payment

audits. The Health Resources and Services Administration therefore correctly exercised its

statutory authority to reject J&J’s unlawful rebate policy. Accordingly, this Court should deny

J&J’s Motion for Summary Judgment.

February 28, 2025                                  Respectfully submitted,


                                                            /s/
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                             CERTIFICATE OF COMPLIANCE

       I hereby certify this brief complies with Local Rule 7(o)(4) and Fed. R. App. P. 29(a)(5)

and 32(g)(1) because it does not exceed 25 pages. The Brief also complies with the typeface and

type-style requirements of the Local Rules because it is double-spaced and has been prepared using

Microsoft Word in a proportionally spaced 12-fond (Times New Roman) in the text and the

footnotes.




                                                             /s/
                                                    Chad Golder




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